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Patterson Belknap Webb « Tyler .-

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March 05, 2010 Andrew D. Schau
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Chambers of the Honorable Patti B. Saris

United States District Court for the District of Massachusetts
John Joseph Moakley U.S. Courthouse

One Courthouse Way

Boston, MA 02210

Re: In re Pharmaceutical Industry Average Wholesale Price Litigation
MDL No. 1456, Civil Action No. 01-12257-PBS

Dear Judge Saris:

We represent the J&J Defendants in the above-referenced matter. I am writing to
inform you of supplemental authority in support of the J&J Defendants’ Post-Remand Motion
for Summary Judgment Against Class 1 Residents of the District of Columbia and States Other
Than the Commonwealth of Massachusetts [Dkt. # 6671], which is currently pending before
Your Honor and is scheduled for oral argument on March 31, 2010.

On February 25, 2010, the California Court of Appeal issued a decision in Pfizer,
Inc. v. Superior Court of Los Angeles County. The decision reiterates that a class representative
proceeding on a claim of misrepresentation under California Civ. Code § 17200 must
demonstrate actual reliance on the allegedly deceptive or misleading statements. (Slip. Op. at 9,

12.) A copy is enclosed for your convenience.
Sinceggly yours

Andrew D. Schau
Enclosure

Cc: All counsel by LNFS
